Case 15-06018 Document1 Filed in TXSB on 10/13/15 Page 1 of 10

Clerk, U.S. District Court

Naphtha Transportation / Keith Schallenkamp Southom Distr of roe
316 N 6" St. § 2015
Mankato, MN 56001 ocr 1
David J. Bradley, Clerk of Court

Subject: Nondischargability Claim against Ellie Ramos Palma. Case Number 15-60013.

Your Honor,

| am Army Reservist on Involuntary Mobilization Orders. See attached orders. In 2012 ! started
Naptha Transportation to have a business to fail back on when the Army no longer needed me
and brought several other Mobilized Reservists on board. Ellie Ramos Palma was the first
person we did business with and she defrauded us ruining our business before we even got it
off the ground and costing us several hundred thousand dollars. Money we saved by serving in
lraq and Afghanistan as well as at Ft. Bliss, TX preparing other Army Reserve/National Guard
units for combat. As a result of being Mobilized and the negligence of our lawyer, Brian Rogers
of Rogers and Davis, Victoria TX we were not able to get a Nondischargability claim for a fraud
judgment filed in time. Below are the details in Chronological order.

1. 9JUL13. Granted a fraud judgment against Ellie Ramos Palma and JJR Transportation
Solutions. See attached Judgment

2. DEC 13. Filed a Writ of Garnishment and received approximately $3,000.

3. March 14 discovered that in Oct 13 Ellie Ramos Palma transferred property to Solid
Transportation. We also have good reason to believe that she transferred assets from JIR
Transportation Solutions to Solid Transportation.

4. Brought this information to our Lawyer Brian Rogers and asked him to file another suit against
Ellie Ramos Palma’s husband Alex Palma as there was property in his name as well and also
against all of the other businesses she and her husband were involved in.

5. 30 APR 14 filed a writ of Execution on a property in Victoria, TX under Alex Palma’s name. See
attached Writ of Execution. We had a court date in JUN 14 where Ellie Ramos Palma claimed
the property was a gift from her father to her husband. The only proof was a cancelled check
from the bank of Costa Rica for $35,000

6. 25 AUG 14 A Motion for a Stay of Execution for 29 AUG 14 was filed by Ellie Ramos Palma
against the property above. See attached Motion. | believe that it was postponed until 6 OCT
14, but am not sure as communication with our lawyer at that time was sporadic at best.

7. Ellie Ramos Palma filed a Bill of Review scheduled for 6 OCT 2014 at which time Ellie Ramos
Palma produced a notarized statement from her father and witnessed by her daughter that the
property was a gift from her father according to officers of the Victoria County Sherriff’s Dept.
who were present at the time. Our lawyer Brian Rogers did not show up for court. He told me
that he was in a car accident and that he would re-schedule it, but never did.

8. FEB 15 Brian Rogers filed a new suit against Alex Palma, solid Transportation and all of the other
businesses Ellie Ramos Palma was involved with. But he let that date laps as well.

9. MAR 15 we found out about Ellie Ramos Palma’s Bankruptcy. We did not receive written notice
because our address had changed due to our Involuntary Mobilization Status.
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10. Brian Rogers informed us that he needed to file a Nondischargability Claim. But he did not do it
and that is the last we have heard from him. See attached email thread.

11. JUL 15 | called his partner (Mr. Davis) and was told that he had left the law firm almost a year
before and had embezzled money from him. We did not know of this change until my
conversation with Mr. Davis. See attached News Article.

12. 6 OCT 15 the court in Victoria, TX is scheduled to dismiss the Bill of Review mentioned above.

We are asking the court to make a concession and grant us a Nondischargability Claim due to the fact
that we are victims of Mal Practice from our lawyer Brian Rogers and the fact that due to
restraints/restrictions of our Involuntary Mobilization Status with the Army Reserves along with distance
we were not able to hire a new lawyer nor perform due diligence on our part. Also from our research,
we have very good reason to believe that she is not being honest regarding assets she owns and would
like a chance to recoup our losses.

We no longer have legal representation because we have not had the opportunity to find a new lawyer
nor do we have the resources to hire one at this time. So please grant us leniency if we have not filed
the appropriate documents.

If you have any questions please feel free to call me or my partner Captain Jason Little Owl at your
convenience.

Captain Jason Little Owl.
Phone: 910-570-5288

Jason. littleowl@gmail.com

SFC Keith Schallenkamp
Phone: 605-641-2600

tajoman@hotmail.com

Thank you.

Sincerely,

Keith A. Schallenkamp
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DEPARTMENT OF THE ARMY
HEADQUARTERS, 85TH SUPPORT COMMAND
1515 WEST CENTRAL ROAD
ARLINGTON HEIGHTS IL 60005-2475

ORDERS: 0Z-349-0009 ; 15 December 2014
SCHALLENKAMP, KEITH ANTHONY XXX-XX-XXXX SFC

316 N 6TH ST W872 0290 RGT 2 BN TNG SPT (W&72AA)

MANKATO, MN 56002 MUSTANG, OK 73064

You are ordered to active duty as a member of your Reserve Component Unit for the period
indicated unless sooner released or unless extended. Procead from your current location in

sufficient time to report by the date specified. You enter active duty upon reporting to
unit home station.

Report To Home Station: W872 0290 RGT 2 BN TNG SPT (W872AA), MUSTANG ARMED FORCES RESERVE
CENTER MUSTANG, OK 73064

Report on: 03 January 2015

Report To Mobilization Station: 1733 PLEASONTON ROAD, B1002 FORT BLISS, TX 75916

Report on: 05 January 2035

Period of active duty: 364 days

Purpose: Activation in support of OPERATION RNDURING FREEDOM(CONUS SUPPORT BASE)
Mobilization category code: V

Additional instructions:

{a) Sure pay is mandatory. Soldier must bring the appropriate documentation to support the
requirement to authorize sure pay to the bank.

{b) Barly reporting is not authorized.

(c}) Unaccompanied baggage shipment ia not authorized.

(d) Movement of household gooda and dependents is not authorized.

(e) Travel will be paid for one time travel from home duty atation to mob station and back
and includes travel and per diem from home station/mobilization station or duty
lecation and return to home station as well as non-temporary storage. Individual
Soldiers whose duty station is different from the mob station will receive funding for
one time travel and return from mob station to the duty station. Govt. transportation
will be provided from home of record to assigned MOB station and/or duty location. POV
as transportation under JFTR, Para U3310 as not being more advantageous to the Govt.
This means total payment of travel will not exceed the Govt cost had the Govt procured
transportation been used between the ordered points. In and around mileage is not
authorized.

(f) Rental car ie not authorized.

(g) Special Storage of HHG/POV may be authorized IAW Para U4770

th) Excesa accompanied baggage is not to exceed 120 pounds.

(i) Bring with you complete military clothing bag and appropriate personal items.

{j) Soldier will handcarry (if available) complete MPRJ, heaith and dental, training, and
clothing records.

(k) Dependents (Family Members) of Reserve Component (Army Reserve and National Guard)
Soldiers ordered to active duty for more than 30-days are eligible for the same
benefits (e.g., medical care, TRICARE, commissary/exchange benefits, legal assistance,
use of morale, welfare and recreation facilities, etc;) as dependents of reguiar Army
Soldiers (but excluding dental, which requires orders to active duty for over 180-
days). It is a Soldier responsibility to ensure dependents are issued DD Form 1172,
Active Duty dependent ID cards, To locate the nearest ID card facility near your home
visit web site www.dmdc.osd/rsl (Rapides site lecator by state, city, zip code).
Dependents are also eligible tc use Army One Source, which is a 24-hour resource
service (from the US: 1-800-464-8107; En &spancla, liama al 1-888~375-5971 and collect
calls (1-484-530-5889) available at no cost.

(1) Bring copies of family care plan, wills, powers of attorney, and any other
documentation affecting the soldiers pay or status.

(m) Pexsonnel requiring eye correction will bring two pairs of eyeglasses and eye inserts
for a protective mask.

(n) Government quarters and mesa will be used if available.

(o) Call 1-800-336-4590 (National Committee for Employer Support of the Guard and Reserve)
or check online at www.eagr.org if you have questions regarding your
employment /reemployment rights.

(p)} Your family members may be eligible for TRICARE (military health care) benefits, For
details go to web address http://www.tricare.mil or email TRICARE_help#@amedd.army.mil.

(q) In an effort to share information between soldiers, employers and the Department of
Defense on their rights, benefits and obligations, mobilized USAR soldiers are strongly
encouraged to provide employer information at

Page }
* This is an official order generated in DAMPS-OCOTCS «
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ORDERS: 0Z-349-0009 15 December 2014

httpa://www.dmdc.osd.mil/udpdri/owa/rca.home.

(xr) If upon reporting for active duty you £ail to meet deployment medical standarda
(whether because of a temporary or permanent medical condition), then you may be
released from active duty, returned to your prior reserve status, and returned to your
home address, subject to a subsequent order to active duty upon resolution of the
Gisqualifying medical condition. If, upon reporting for active duty, you are found to
satisfy medical deployment standards, then you will continue on active duty for a
pericd not to exceed the pevicd specified in this order, such period to include the
period (not to exceed 25 days) required for mobilization processing.

(s]} You have been ordered to active duty in a TCs status. (subsequent orders, amendments
and revocations may be downloaded from
https: //mobcop. army .mil/ORDERS/UI/Security/Login.aspx) .

{t) If Government provided lodging is not available or thea Soldier is not assigned to an
installation, the Soldier must use Army lodging success (1-800-462-7691) to obtain
housing ox a statement of non-availability (SNA). With a SNA, the Soldier is authorized
100% of the local per diem rate when orders are for 180 days or less; however, the
authorized pex diem rate will be 55% when the initial order is for 181 days or more or
if subsequent orders exceeds 180 days within a 12 month period.

{u} Demobilization of unit(s) is/are prohibited without approval of HQDA. Individual
members of the unit will demobilize with the unit unless provisions of AR 600-8-24 or
AR 635-200 apply. UICs will demobilize where it mobilizes, unless diverted per First
Army.

FOR ARMY USE
AUTHORITY: Title 10 USC, Section 12302, DA Order 203214 dated 1215092Jun14/1A-14-163-010
date 12 June 2014
Accounting classification:
ENL PAY/ALW: 215/6/7 2010.0000 01-1100 P2A200 11**/12** VFRE F1201 5570 O1ENGU 812120
TVL/PD: 21 S 2020.0000 OBZ BITC 12101220F1M 21T1/21T2 RAAZVO AZVORA 012161
Funds are available upon the U.8. Congress Enacting FY15 Defense Appropriation. Funding is
authorized only for the fiscal year indicated on this order. Amendments will be required for
subsequent fiscal years. Soldiers and authorized Army officials must sign into
httpa: //mobcop.army.mil/ORDERS to retrieve copies of orders/amendments.
SDN; SCH5851T349009
Sex: M
MDC: PMES
PMOS/AOC/ASI/LIC: 313//2B/
HOR: MANKATO, MN 56001
DOR: 01 April 2010
PEBD;: 24 October 1989
Security Clearance: SECRET, NATIONAL AGCY CHECK WITH LOCAL RECORD & CREDIT CHECKS
{NACLC) 08 March 2008
Comp: USAR

Format: 165

FOR THE COMMANDER:

* * * * * *
* 85TH SPT CMD *
* OFFICIAL *
* + * t * ®

ROBERT W. SPINELLI
HUMAN RESOURCES OFFICER

DISTRIBUTION: 1- Cdr, Ft Bliss
1- Cdr, WA72AA, W872 0290 RGT 2 BN TNG SPT, MUSTANG

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CAUSE NUMBER 12-8-73584-D FE | L FE D

NAPHTHA TRANSPORTATION, LLC, 377™ JUDICIAL CT
PLAINTIFF, 2013 JUL -9_ PM 3: 00
VS.

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VisRRUI Ra iy Texas

JIR TRANSPORTATION SOLUTIONS, INC. & ELLIE RAMOS,
DEFENDANTS.

OP 0OP 00 002 00? GO 00?

JUDGMENT
. Gg” wa .

CAME BEFORE THE COURT on this the day of July, 2013, Plaintiff appeared through its attorney of

record. Defendants, although cited to appear and answer herein, have failed to file an answer within the time allowed by law.
. The Court has considered the pleadings and records on file in this cause and the evidence and is of the opinion that

judgment should be rendered for Plaintiff.

It is accordingly ADJUDGED that Plaintiff, recover from Defendant, judgment for—

1. $206,404.00, as damages resulting from the Defendants breach of contract;

2. The Court finds that the Defendants committed fraud against the Plaintiffs, and accordingly awards Plaintiff
treble damages, for a total of $619,212.00 as damages resulting from the contractual breach by Defendants,
and the resulting trebling finding;

3. $15,000.00 as attorney's fees in this case, the recovery of all fees and costs in the event the Defendants file a
Motion for New Trial, the recovery of all attorney's fees and costs associated with the enforcement of this
judgment and all attorney's fees and costs in the event of an appeal by Defendant;

4. $987.23 for costs of court;

5. interest at the rate of 5.00% percent per year on the total judgment from the date of judgment until paid.

It is ORDERED that Plaintiff shall have all writs of execution and other process necessary to enforce this judgment.

All relief not expressly granted herein is denied.

SIGNED on Jue 9 @Ol(Z_.

 

 

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rable Judge Presiding

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APPROVED AS TO FORM JUBSTANCE:;

 

Brian W.
Texas Bar Number 24041
Rogers Davis LLP

- Attorneys & Counselors at Law —
121 E. Constitution
Victoria, Texas 77901
361.573.9898 — Telephone
361.573.9899 — Facsimile
Case 15-06018 Document1 Filed in TXSB on 10/13/15 Page 7 of 10

Rocers Davis LLP

 

- Attorneys & Counselors at Law -
121 E. Constitution
Brian W. Rogers Victoria, Texas 77901
Partner
361.573.9898 — Telephone
361.218.2301 — Direct 361.573.9899 ~ Facsimile
brogers@rogersdavis.com www.rogersdavis.com
April 30, 2014
Victoria County Sheriff's Department Via Hand Delivery

Attn: Civil Division
101 N. Glass Street
Victoria, Texas 77901

Re: Writ of Execution in Cause Number 12-8-73584-D; NAPHTHA Transportation, LLC vs. JIR
Transportation Solutions, Inc. & Ellie Ramos; 367" Judicial District Court, Victoria County, Texas

I hope this letter finds you well. As you are aware, a Writ of Execution has been issued and given to you for
service. Additionally, we have had discussions with you regarding the various corporate entities that Ellie Ramos n/k/a
Ellie Parma a/k/a Ellie Palma is associated with. While we have no doubt she fraudulently conveyed assets belonging to
JJR Transportation Solutions, Inc. to a new entity formed and owned by her new husband (Solid Transport, LLC), it is
our intent at this time to only execute against Ellie Ramos n/k/a Ellie Parma or Ellie Palma and demand the surrender of
her interest in the following corporations:'

() JJR Transportation Solutions, Inc.; (a Texas corporation with a forfeited existence to do business);

(2) Eco Forest Group, Inc. (a corporation registered in the state of Virginia);

(3) Multicultural Community Foundation, Inc. (a corporation registered in the state of Virginia);

(4) Solid Transport, LLC (a Texas LLC);

(5) First Solid Energy Group, LP (a Texas Limited Partnership); and

(6) GWK, GP LLC (a Texas LLC and the General Partner of Number 5 above)

Regarding any fraudulent conveyances made by Ellie Ramos n/k/a Ellie Parma, we will be required to file new
lawsuits against those entities that received said properties, and accordingly, cannot be acted upon under the current writ
of execution. Please seize the corporate interests at your earliest possible convenience so that we can move forward
towards liquidation of those interests. If you have any questions, please feel free to contact the undersigned, and thank

you for your assistance in this matter.

Sincerely,

 

Brian W. Rogers

bwr/vis
cc: Keith Schallenkamp, NAPHTHA Transportation, LLC

 

" Any interest owned in a business entity is a non-exempt asset as defined by applicable Texas Codes.

 
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CATHY STUART

 

 

 

 

DISTRICT CLERK VICTORIA COUNTY
Victoria County Courthouse P. O. Box 2238
361-575-0581 Victoria, Texas 77902

August 25, 2014

RE: 12-8-73584-D

NAPHTHA TRANSPORTATION, LLC
VS.
JIR TRANSPORTATION SOLUTIONS, INC. AND ELLIE RAMOS

TO THE ATTORNEYS OF RECORD IN THE ABOVE NUMBERED AND
ENTITLED CAUSE:

The above styled and numbered case is set for hearing on Defendant Ellie Ramos' Motion
to Stay Execution on August 29, 2014 at 9:00 AM in the District Court of Victoria
County, Texas.

Please advise immediately upon receipt of this notice if you have any conflicting setting
or settings. Unless so advised, the Court will not entertain any motion for continuance.

Cathy Stuart

District Clerk

24th, 135th, 267th and 377"
Judicial Districts of
Victoria County, Texas

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B
ckie Gloor

Cynthia T Sheppard SHEPP04@MSN.COM

Bnan W. Rogers BWRS000@GMAIL.COM

 
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That's a good idea Brian, I hope that we can get that done asap.
1. She is filing bankruptcy. Her businesses aren't and neither is Alex.

2. Since we have a Judgment against JJR and there was a fraudulent
transfer of assets from JJR to Solid and I think we could make the case
that there were assets transferred from JJR to the other entities as well in
the form of start up capital, I think that we should keep the pressure on
by continuing to go after them. We already filed that suit. Should we
continue it?

* She says that her father owns 90% if Solid (how convenient). She
has obviously tried to keep assets from us that way. That is fraudulent in
itself. But if that is also a tactical error since we can now include her
father and brother in the fraudulent transfer of assets.

The reason I am concerned is that we don't want to waste more time. I
doubt we will get the whole judgment from Ellie's bankruptcy anyway
and by getting her father, brother and Alex in the case as well, we

can take all of Solid Trans and get 100% of the assets in Alex and her
father's name.

Brian, we are concermed that your medical condition may affect your
ability to keep up with our case.

I am retiring in Aug. By pressuring Ellie in her bankruptcy and at the
same time pressuring Alex and her father, I think we can make bigger
gains more quickly. Brain and Jason, what to you think of this tactic? I
guess my military instinct is to keep the pressure on and keep it as
intense as possible in order to force errors.

KEITH SCHALLENKAMP tajoman@hotmail.com

 

Date: Mon, 13 Apr 2015 12:07:33 -0500
Subject: RE: ellie's first bankruptcy schedules

From: bwr5000@gmail.com
To: tajoman@hotmail.com

Their are a gazillion things wrong with her schedules, etc. The Trustee is
going to set his hooks in her and not let go. We have to file what's called
a nondischargeability complaint against Ellis on the basis of fraud. The
trustees dragnet will bring everything else in.

Brian W. Rogers
Rogers Law Group P.C.
608 S. Bridge

Victoria, Texas 77901
361.460.4653 - Tel

https://bay 177.mail live.com/ol/mail.mvc/PrintMessages?mkt=en-us 10/6/2015
Bank accuses VagtoH a HET ReY Sh Cee ANS EHS ale LISA P&ge 10 of 10 Ase 1 of 3

Tuesday, October 06, 2015

ICTORIA ADVOCA

Bank accuses Victoria
attorney of theft, fraud

aii, By Jessica Priest
et Aug. 28, 2015 at 10:21 p.m.
Updated Aug. 29, 2015 at 6 a.m.

   

  

TDECU has sued a Victoria attomey, claiming he pocketed at least $26,800 obtained from members who had
defaulted on their loans.

Texas Dow Employees Credit Union retained Brian Wade Rogers to represent it on credit obligation matters in
2003 or 2004 and, since that time, has paid him more than $500,000, according to court documents.

The bank claims Rogers understated settlement amounts, wrote it a check that later bounced and settled
disputes without its knowledge.

The bank added there are at least three matters Rogers was instructed to take action on but did not, landing
them on the court's dismissal docket.

The bank claims he committed legal malpractice, theft and fraud.

“TDECU only learns of these matters when its members reach out and request that TDECU live up to the terms of
the agreement,” the bank's attorney, Nathan Milliron, wrote in court documents. “In addition, Rogers’ former law
partner, Mark A. Davis, has helped TDECU piece together Rogers’ actions.”

The case was filed in May, but Rogers had not replied to the claims as of Friday.

He could not be reached by the newspaper for comment.

Rogers no longer represents TDECU, Milliron said Thursday, declining to comment further.

Victoria police are not investigating him, Detective Tanya Brown said.

Rogers does not have a public disciplinary record with the State Bar of Texas. He eamed his doctorate of

jurisprudence from Texas Tech University in 2003. His practice areas include bankruptcy, business, credit-
debtor, health care, commercial and oil and gas litigation.

https://www.victoriaadvocate.com/news/2015/aug/28/bank-accuses-victoria-attorney-of-th... 10/6/2015
